EXHIBIT “B”

4838-2734-1513, v. 1
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

THE FEDERAL SAVINGS BANK
Plaintiff, Case No. 21-cv-01400
-against- DEFENDANTS’ FIRST SET OF
INTERROGATORIES TO PLAINTIFF
PAUL J. MANAFORT, et al.

Defendants.

 

 

Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Defendants Paul J.
Manafort and Kathleen B. Manafort (“Defendants”), hereby requests that Plaintiff The Federal
Savings Bank (“Plaintiff’ or “TFSB”) provide sworn answers to the interrogatories contained
herein within thirty (30) days of service. Please email any written responses to Defendants’
counsel, Rodney Perry, at the following email address: rperry@rshc-law.com.

INSTRUCTIONS

1. In answering the following interrogatories, furnish all available information,
including information in the possession, custody, or control of any of your attorneys, directors,
officers, agents, employees, representatives, associates, investigators or division affiliates,
partnerships, parents or subsidiaries, and persons under your control, who have the best
knowledge, not merely information known to you based on your own personal knowledge. If you
cannot fully respond to the following interrogatory after exercising due diligence to secure the
information requested thereby, so state, and specify the portion of the interrogatory that cannot be
responded to fully and completely. In the latter event, state what efforts were made to obtain the
requested information and the facts relied upon that support the contention that the interrogatory

cannot be answered fully and completely; and state what knowledge, information or belief you
have concerning the unanswered portion of the interrogatory.

2. If you object to any part of the interrogatory, including objecting to fully identifying

a document, electronically stored information or oral communication because of a privilege, you

must nevertheless provide the following information unless divulging the information would

disclose the privileged information:

(a)
(b)

(c)

(d)

(e)

(f)

the nature of the privilege claimed (including work product);
if the privilege is being asserted in connection with a claim or defense governed

by state law, the state privilege rule being invoked;

the date of the document, electronically stored information or oral
communication;
if a document, the type of document (e.g., letter or memorandum) and, if

electronically stored information, the software application used to create it (e.g.,
MS Word or MS Excel Spreadsheet), and the custodian, location, and such other
information sufficient to identify the material for a subpoena duces tecum or a
production request, including where appropriate the author, the addressee, and,
if not apparent, the relationship between the author and addressee;

if an oral communication: the place where it was made, the names of the persons
present while it was made, and, if not apparent, the relationship of the persons
present to the declarant; and

the general subject matter of the document, electronically stored information or

oral communication.

3. The term “any” shall be understood to include and encompass “all.” The words

“and” as well as “or” shall be construed disjunctively or conjunctively as necessary to bring within
the scope of each request all information which might otherwise be construed to be outside of its
scope.

4, Whenever appropriate, the singular form of a word shall be interpreted in the plural
form or vice versa, and verb tenses shall be interpreted to include past, present, and future tenses.
Unless specifically defined herein, all words and terms used herein shall be construed and

interpreted according to ordinary custom, usage, and meaning.

5. Unless stated otherwise in a specific interrogatory, the relevant time period for these

interrogatories is January 1, 2016, to the present.

DEFINITIONS

1. “You” or “your” or “TFSB” shall mean Plaintiff The Federal Savings Bank, and its
employees, agents, representatives, consultants, attorneys, affiliates, subsidiaries, predecessors,
and anyone else acting on its behalf.

2. Defendants” shall mean Defendants Paul J. Manafort and Kathleen B. Manafort.

3. “Premises” shall mean the real property located at 377 Union Street, Brooklyn, New
York 11976, Block 429, Lot 65.

4. “Action” shall mean means The Federal Savings Bank vs. Paul J. Manafort, et al., Case
No. 21-cv-01400, currently pending in the United States District Court for the Eastern District of
New York.

5. “Complaint” shall mean the operative Complaint in the above-captioned action.

6. Each of the functional words “each,” “every,” “any,” and “all” shall be deemed to
include each of the other functional words.

7. “Communication(s)” shall mean any and all forms of transmission of information or

ideas between persons and/or entities, including but not limited to written, oral or electronic
correspondence communication. All such communications in writing shall include, without
limitation, printed, typed, handwritten, or other readable documents, correspondence, memoranda,
reports, contracts, drafts (both initial and subsequent), computer discs or transmissions, e-mails,
instant messages, text messages, iMessage, social media messages, blog posts, tape or video
recordings, voicemails, diaries, logbooks, minutes, notes, studies, surveys, and forecasts, and all
copies thereof.

8. “Document(s)” shall include the full scope to the usage of these terms in Rule 34 of the
Federal Rules of Civil Procedure. “Documents” also include all electronic documents, data, and
information, including, but not limited to, e-mails or other electronic messages, drafts of
documents, metadata, attachments to e-mails or messages, internet service provider e-mails,
voicemails, images, spreadsheets, draft spreadsheets, database files, faxes sent and received,
contact lists, electronic calendars, and appointment reminders. A draft or non-identical copy is a
separate document within the meaning of this term. “Document(s)” also include software. For the
avoidance of doubt, all communications are documents.

9. “Identity” or “Identify” when used in reference to an individual person, shall be read to
call for the following information with regard to him or her: the full name, including any other
names by which such person has been known; the present address and telephone number; the
present business address and telephone number; the present or last known relationship, association,
or affiliation with this answering party, and if different, the relationship, association or affiliation
at the time of the events referred to in the pleadings.

10. Document(s) that “Refer or Relate to” a given subject matter means any document that
constitutes, contains, embodies, comprises, reflects, identifies, states, deals with, comments on,

responds to, describes, analyzes, or is in any way pertinent to that subject.
11. “Relating to” or “Concerning” shall be given the broadest meaning possible, including
but not limited to referring to, concerning, reflecting, mentioning, demonstrating, memorializing,
proving, disproving, or summarizing.

12. “Initial Disclosures” shall mean “Plaintiff's Rule 26(a)(1) Disclosure” filed in the
Action on August 2, 2021.

13. “Project Loan” shall mean the loan issued by TFSB to Defendants in the amount of
Five Million Three Hundred Thousand ($5,300,000.00) and identified as TFSB Loan No.
1010001444.

14. “Building Loan” shall mean the loan approved by TFSB in favor of Defendants in the
amount of One Million Two Hundred Thousand ($1,200,000.00) and identified as TFSB Loan No.
1010001450.

15. The “Loans” shall mean any or all the Project Loan and/or Building Loan.

16. “Project Loan Note” shall mean the promissory note executed by and between TFSB
and Defendants on January 4, 2017, for the principal sum of Five Million Three Hundred Thousand
($5,300,000.00), attached to the Complaint as Exhibit B.

17. “Project Loan Mortgage” shall mean the mortgage executed by and between TFSB and
Defendants on January 17, 2017, attached to the Complaint as Exhibit C.

18. “Building Loan Note” shall mean the promissory note executed by and between TFSB
and Defendants on January 17, 2017, for the principal sum of One Million Two Hundred Thousand
($1,200,000.00), attached to the Complaint as Exhibit D.

19. “Building Loan Mortgage” shall mean the mortgage executed by and between TFSB
and Defendants on January 17, 2017, attached to the Complaint as Exhibit E.

20. “Pledged Account” shall mean Pledged Account No. 0002030969 as evidenced by the
Deposit Account and Security Agreement executed by and between TFSB and Defendants as of
January 17, 2017.

21. The “Loan Documents” shall mean any or all of the Project Loan Note, the Project
Loan Mortgage, the Building Loan Note, the Building Loan Mortgage, the Pledged Account, and

all other security instruments related to the Loans.
INTERROGATORIES

1. Identify by name and address every person you believe to have information related to
TFSB’s claims, allegations, contentions, and alleged damages in the Action. For each such person,
describe in detail the information each person is thought to have.

2. State name and address, job title, employer, business address and phone number of
all persons answering these interrogatories and explain in detail the relationship of the person
answering these interrogatories to TFSB. For each such person identified in your response, state
the specific interrogatory each such person contributed to in responding.

3. State all reasons why you did not apply the Two Million Five Hundred Thousand
($2,500,000.00) received from the Pledged Account to the Building Loan and identify any
documents relied upon in providing your response.

4. Describe with particularity how you applied the Two Million Five Hundred Thousand
($2,500,000.00) received from the Pledged Account to the Loans, including, but not limited to, all
reasons supporting your decision for how you applied the Two Million Five Hundred Thousand
($2,500,000.00) received from the Pledged Account to the Loans and identify any documents
relied upon in providing your response.

5. Identify and describe in detail all communications, including the dates of all such
communications, between you and any other person (excluding your attorney(s)) about how the
Two Million Five Hundred Thousand ($2,500,000.00) received from the Pledged Account would
be or should be applied to the Loans and identify any documents relied upon in providing your

response.
6. Describe in detail the procedure and bases upon which the Loans and Loan Documents
were approved by TFSB, including, but not limited to, identifying all persons involved in the
determination or process, identifying all documentation submitted to and considered by TFSB in
approving the Loans, explaining and identifying all documents related to TFSB’s credit risk
assessment for the Loans, and stating all facts supporting TFSB’s underwriting decision approving
the Loans.

7. Identify all individuals employed by, or acting in a representative capacity for, TFSB
that raised concerns about approving the Loans and/or Loan Documents, and, for any individual
identified, state every concern raised, when the concerns were raised, how they raised those
concerns, and to whom they were raised.

8. Identify the entity, if any, to which TFSB assigned any of the Loans and/or Loan
Documents, including, but not limited to, the dates of any assignments and the component of the
Loan assigned.

9. Identify all individuals involved with decisions of whether to disburse funds from the
Building Loan related to construction and/or renovations for the Premises.

10. Identify every instance where you decided not to disburse funds from the Building Loan
related to construction and/or renovations for the Premises, and for each instance so identified,
state every reason supporting your decision, the persons involved in the decision-making process,
and all documents relied upon you in the decision not to disburse funds from the Building Loan
for construction and/or renovations at the Premises.

11. Identify and describe in detail all communications between you and any other person
(excluding your attorney(s) but including, and not limited to, the project architect and general

contractor) about disbursement of funds (or the lack thereof) from the Building Loan related to the
construction and/or renovations for the Premises.

12. State all reasons supporting your allegation that Defendants defaulted under the terms
of the Loans and/or Loan Documents.

13. State whether TFSB authorized National Bancorp Holdings to acquire a portion of the
Loans at issue and, if so, provide every reason supporting TFSB’s decision to do so and identify
all persons involved in that decision.

14. Describe in detail all documents that show who owned, held, serviced, or otherwise
had any rights to enforce the Loans at issue in this Action when TFSB filed the Complaint. Include
specific details, not generalities such as “Plaintiff is the holder and entitled to enforce.”

15. Please explain and describe in detail the relationships among parties with respect
to the Loans (including TFSB, National Bancorp Holdings, any servicer, any owner, all trustees
past and present, any investor, any custodian, any depository, any special purpose vehicle or
special purpose entity) and any other material features of any transaction concerning the sale,
transfer or assignment of the mortgages for the Loans at any time between the making of same and
TFSB’s filing of the Action.

16. Please state all details regarding all custodians of the Project Loan Note and the
Building Loan Note. Include, when each such custodian was in possession of the notes, on whose
behalf the custodian was in possession of the notes, and who deposited the notes with each
custodian.

17. Describe in detail the bases for the legal fees sought by TFSB in the Action related to
the Loans, including the amounts and calculation of all legal fees sought and the dates on which

all such legal fees were incurred.
18. Describe in detail the late charges sought by TFSB in the Action related to the Loans,
including the amounts, bases and calculation of all late charges sought and the dates on which all
such late charges were incurred.

19. Describe in detail the protective advances sought by TFSB in the Action related to the
Loans, including the amounts, bases and calculation of all protective advances and the date on
which all such protective advances were paid.

20. Describe in detail, including the date and content of, all communications between
TFSB, its employees or agents (inclusive of attorneys in which any third person was involved) and
any federal agency involving the Loan or Loan Documents and identify all persons involved in
those communications and identify all documents relating to such communications.

21. Describe in detail, including the date and content of, all communications between
TFSB, its employees or agents (inclusive of counsel in which any third person is involved) and
any federal agency involving the prosecution of Stephen Calk and identify all persons involved
in those communications and all documents relating to such communications.

22. State whether TFSB conducted any internal investigations into the Loans and, if
so, identify all persons who were involved in the investigation, all persons investigated, all
documents reviewed, the results of said investigation, and any written reports or results rendered.

23. State whether Dennis Raico and Stephen Calk were terminated from their
employment with TFSB and, if so, identify all persons involved in that decision and the reasons
for their termination. As part of the response identify all documents related to Raico’s and
Calk’s termination or relied upon in providing your response.

24. State whether TFSB has valued the real estate which it seeks to foreclose upon

and, if so, identify all persons who provided a valuation, the date of any such valuation, the
amount of any such valuation, and all documents relating to any such valuation.

25. Identify all other persons who were terminated or sanctioned as a result of the Loan.

Dated: September 16, 2021

Respectfully submitted,

/s/ Rodney Perry

Rodney Perry

Matthew C. Crowl

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Attorneys for Defendants Paul J. Manafort and
Kathleen B. Manafort
CERTIFICATE OF SERVICE

The undersigned, an attorney, certifies that a true and accurate copy of the foregoing,
Defendants’ First Set of Interrogatories to Plaintiff, was caused to be served on the following

parties by electronic mail on September 16, 2021:

Tom McGowan

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/s/ Rodney Perry
Counsel for Defendants Paul J. Manafort and
Kathleen B. Manafort
